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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
DEBRA FISCHER,
Plaintiff, CASE NO.
vs. Jury Trial Demanded

ETHICAL RECOVERY SOLUTIONS, LLC,

Defendant.
/

COMPLAINT

Plaintiff, DEBRA FISCHER (“Plaintiff”), files suit against the Defendant, ETHICAL
RECOVERY SOLUTIONS, LLC, (“Defendant”) and alleges the following.

1. This action arises out of Defendant’s violations of the Fair Debt Collection Practices
Act, 15 U.S.C. 1692 §§ et seg. (“FDCPA”) and the Florida Consumer Collections Practices Act,
Fla. Stat. §§ 559.55 et seq. (“FCCPA”). This Court has jurisdiction pursuant to 28 U.S.C. § 1331
and 15 U.S.C. § 1962 et seq. This Court has supplemental jurisdiction over the Plaintiff's FCCPA
claims under 28 U.S.C. § 1367.

2. Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where the acts
and transactions giving rise to Plaintiff's action occurred in this District (where Plaintiff resides in
this District, and where Defendant transacts business in this District).

PARTIES

3. Plaintiff is a natural person who at all relevant times resided in the State of Florida,

County of Sarasota. Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(2) and

by 15 U.S.C. § 1692a(3).
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4. Defendant is an entity who at all relevant times was engaged, by the use of the mails
and telephone, in the business of attempting to collect a “debt” from Plaintiff as that term is defined
by 15 U.S.C. § 1692a(5). Defendant is a "debt collector" as that term is defined by 15 U.S.C. §
1692a(6). Likewise, Defendant is a “person” subject to regulation under Fla. Stat. § 559.72

FACTUAL ALLEGATIONS

5. Plaintiff allegedly defaulted on a debt owed to Gulf Coast Health Care Services,
Inc. Subsequently, the alleged debt was consigned, placed or otherwise transferred to Defendant
for collection from the Plaintiff. The debt that Plaintiff incurred was a consumer debt as defined
by the FDCPA and FCCPA, and was secured and used primarily for personal, family, and/or
household services.

6. On October 23, 2013, Defendant sent or caused to be sent to Plaintiff a letter
attempting to collect the above-referenced debt. The letter identifies Gulf Coast Health Care
Services, Inc. as the creditor, and the account number as 12707. The letter states that the amount
due is $2,588. (The foregoing letter is attached to this Complaint as Exhibit A and is hereinafter
referred to as the “Debt Collection Letter’).

7. At the time the Debt Collection Letter was sent to Plaintiff, Plaintiff did not owe
$2,588.06 to Gulf Coast Health Care Services, Inc.

8. Defendant’s Debt Collection Letter constitutes a misleading, confusing and
deceptive means by which Defendant attempted to collect the above-referenced debt from
Plaintiff. In particular, the Defendant was attempting to collect an amount not expressly
authorized by agreement or permitted by law. Therefore, the Defendant misrepresented the

amount that Plaintiff allegedly owed the creditor, Gulf Coast Health Care Services, Inc.
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COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

15 U.S.C. 1692 § et seg.

9. Plaintiff incorporates by reference paragraphs 1 through 8 of this Complaint as
though stated fully herein.

10... The foregoing acts and omissions of Defendant constitute violations of the
FDCPA, including: (a) 15 U.S.C. § 1692e; (b) 15 U.S.C. § 1692e(10); (c) 15 U.S.C. §
1692e(2)(A); and (d) 15 U.S.C. §.

11. Asa result of Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §
1692k, Plaintiff is entitled to statutory damages in an amount up to $1,000.00, plus reasonable
attorneys’ fees and costs, and any actual damages sustained as a result of Defendant’s conduct.

WHEREFORE Plaintiff demands judgment for damages, attorneys’ fees, costs, and
such further relief as this Court deems just and proper.

COUNT II —- VIOLATIONS OF THE FCCPA

12. Plaintiff incorporates by referenced paragraphs 1 through 8 of this Complaint as
though stated fully herein.

13. The foregoing acts and omissions of Defendant constitute violations of the
FCCPA, including: (a) Fla. Stat. § 559.72(9).

14. As a result of Defendant’s violations of the FCCPA, pursuant to Fla. Stat. §
559.77, Plaintiff is entitled to statutory damages in an amount up to $1,000.00 for each
subsection violated of the FCCPA, plus reasonable attorney’s fees and costs.

WHEREFORE Plaintiff demands judgment for damages, attorney’s fees, costs, and

such further relief as this Court deems just and proper.
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DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury on all issues so triable.

/s/ Paul R. Fowkes

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